       Case 3:15-cr-00657-JLS                Document 87            Filed 05/13/16            PageID.241               Page 1 of 4

AO 245B (CASDRev. 08/13) Judgment in a Criminal Case                                                                  FILED
                                      UNITED STATES DISTRICT COU                                                       MAY 1 3 2016
                                         SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                  CLERK US Dlsm:CT COURT
            UNITED STATES OF AMERICA                                 JUDGMENT IN A C                              ~~~mICT OF CALIFORNIA
                                                                                                                      \"A1'iJ<;   A CcDEPUTY
                                 V.                                                               I I...   n...   ..... ovem er ,
                     NIDAL FDAWI (2)
                                                                        Case Number:          15CR0657-JLS

                                                                     John David Kirbr
                                                                     Defendant's Attorney
REGISTRATION NO.                 49268298

0-
~   pleaded guilty to count(s)         2 of the Information

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                              Count
Title & Section                   Nature of Offense                                                                          Number(s)
18 USC 1349                       Conspiracy to commit bank fraud                                                                   2




    The defendant is sentenced as provided in pages 2 through                  4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
~   Count(s)    (remaining counts)                            are          dismissed on the motion of the United States.

~    Assessment: $100.00 imposed



~   No fme                 0 Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                     Matl...l.Q16
                                                                     Date of Imposition of Sentence



                                                                       ON. JANIS L"SAMMAlttrNO
                                                                     UNITED STATES DISTRICT JUDGE




                                                                                                                             15CR0657-JLS
         Case 3:15-cr-00657-JLS           Document 87        Filed 05/13/16       PageID.242        Page 2 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                NIDAL FDAWI (2)                                                          Judgment - Page 2 of 4
CASE NUMBER:               15CR0657-JLS

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of:
 Sixteen (16) months




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ~     The court makes the following recommendations to the Bureau of Prisons:

       Incarceration in the Southern District of California




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o •                                  AM.               00

       o     as notified by the United States Marshal.
                                                                   -------------------------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       ~     on or before June 24, 2016 before 12:00 PM
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
I have executed this judgment as follows:


                                -------------------------- to -------------------------------
       Defendant delivered on


at
     ------------------------ , with a certified copy of this judgment.

                                                                 UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL



                                                                                                        15CR0657-JLS
                Case 3:15-cr-00657-JLS                 Document 87              Filed 05/13/16            PageID.243             Page 3 of 4

       AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

       DEFENDANT:                   NIDAL FDAWI (2)                                                                              Judgment - Page 3 of 4
       CASE NUMBER:                 15CR0657-JLS

                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three (3) years


     The defendant shall report to the probation office in the district to which the defendant is released within 72 honrs of release from the
cnstody of the Bnreau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on orafterSeplember 13,1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month dnring the
term of supervision, unless otherwise ordered by court.
             The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of futnre
o            substance abuse. (Check, ifapplicable.)
[;gj         The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
[;gj
             The defendant shall cooperate in the collection of a DNA sample from the defendant, pnrsuant to section 3 of the DNA Analysis
             Backlog Elimination Act of 2000, pnrsuant to 18 USC section 3583(a)(7) and 3583(d).
             The defendant shall comply with the requirements of the Sex Offender Registration and NotifIcation Act (42 U.S.C. § 16901, et
o            seq.) as directed by the probation officer, the Bnreau of Prisons, or any state sex offender registration agency in which he or she
             resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o            The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

             If this jndgment imposes a fme or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
        such fme or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
        Payments set forth in this judgment.
             The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
         with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
        1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer~
        2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
        3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4)  the defendant shall support his or her dependents and meet other family responsibilities;
        5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
        6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
        7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
        8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted permission to do so by the probation officer;
        10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
            observed in plain view of the probation officer;
        11) the defendant shall notify the probation officer within seventy~two hours of being arrested or questioned by a law enforcement officer;
        12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
            the court; and
        13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall pennit the probation officer to make such notifications and to confirm the defendant's compliance
            with such notification requirement.



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      Case 3:15-cr-00657-JLS        Document 87         Filed 05/13/16    PageID.244       Page 4 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            NIDAL FDAWI (2)                                                      Judgment - Page 4 of 4
CASE NUMBER:          15CR0657-JLS

                              SPECIAL CONDITIONS OF SUPERVISION

   1. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
      Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
      or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
      revocation; the defendant shall wam any other residents that the premises may be subject to searches
      pursuant to this condition.

   2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

   3. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
      and counseling, as directed by the probation officer. Allow for reciprocal release of information between
      the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount to be determined by the probation officer, based on ability to pay.

   4. Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines
      of credit without approval of the probation officer.

   5. Provide complete disclosure of personal and business [mancial records to the probation officer as
      requested.




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